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 9
                                     UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11
                                         SAN FRANCISCO DIVISION
12

13
     UNITED STATES OF AMERICA                           ) No. CR 13-00587 CRB
14                                                      )
                                                        )
15                    v.                                ) STIPULATION AND [PROPOSED]
                                                        ) ORDER
16   DANIEL ROSENBLEDT,                                 )
                                                        )
17                          Defendant.                  )
                                                        )
18

19          On September 5, 2013, a four-count Information was filed against the defendant. Dkt. #1.
20 Count One and Count Three charged bid rigging in San Mateo County and San Francisco County, in

21 violation of 15 U.S.C. § 1. Count Two and Count Four charged conspiracy to commit mail fraud in San

22 Mateo County and San Francisco County, in violation of 18 U.S.C. § 1349. This Court accepted the

23 defendant’s guilty plea as to both counts on November 4, 2013. Dkt. #12.

24          On October 11, 2017, the United States and defendant are scheduled to appear before this Court
25 to enter a new bid-rigging-only plea agreement. By that appearance date, a new plea agreement between

26 the parties will be submitted to the Court.

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28   //
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 1          The execution of this Stipulation and [Proposed] Order is contingent upon the Court’s

 2 acceptance of the defendant’s forthcoming bid-rigging-only guilty plea pursuant to the new plea

 3 agreement. Following the Court’s acceptance of the defendant’s guilty plea, the United States and

 4 defendant stipulate to the dismissal of Count Two and Count Four of the Information and request that

 5 the Court hold as follows:

 6          1.       The defendant’s guilty plea to Count One and Count Three, bid rigging in San Mateo and

 7 San Francisco County, in violation of 15 U.S.C. § 1, pursuant to the prior plea agreement is

 8 WITHDRAWN.

 9          2.       The defendant’s guilty plea to Count Two and Count Four, conspiracy to commit mail

10 fraud in San Mateo County and San Francisco County, in violation of 18 U.S.C. § 1349, pursuant to the

11 prior plea agreement is WITHDRAWN and Count Two and Count Four are DISMISSED.

12          3.       The prior plea agreement lodged with the Court on November 5, 2013 (Dkt. #11), is

13 WITHDRAWN.

14          4.       As a result of the withdrawal of defendant’s guilty plea to Count Two and Count Four

15 and the dismissal of Count Two and Count Four, the United States is hereby ordered to return to

16 defendant the total amount of money he forfeited to the United States as a result of his prior guilty plea.

17 Defendant made a lump sum payment of $454,695.00 to the United States on December 26, 2013. The

18 United States is ordered to return that amount to defendant forthwith.

19           IT IS SO STIPULATED.

20 DATED: October 11, 2017                                          /s/
                                                          GEORGE D. NIESPOLO
21                                                        Counsel for Daniel Rosenbledt
22

23 DATED: October 11, 2017                                          /s/
                                                          GABRIEL R. MARTINEZ
24                                                        U.S. Department of Justice
                                                          Antitrust Division
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28
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 1        IT IS SO ORDERED.

 2

 3
     DATED: _____________
 4                                           CHARLES R. BREYER
                                             United States Chief District Judge
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     No. CR 13-00587 CRB                      3
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